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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )            CASE NO. 8:95CR133
                                            )
             Plaintiff,                     )
                                            )
             vs.                            )                    ORDER
                                            )
ALEJANDRO H. FLORES,                        )
                                            )
             Defendant.                     )

      This matter is before the Court on the government’s motion to dismiss (Filing No.

175). Pursuant to Federal Rule of Criminal Procedure 48(a), leave of court is granted for

the dismissal of the Indictment against the Defendant, Alejandro H. Flores.

      IT IS ORDERED that the government’s motion to dismiss (Filing No. 175) is granted.

      DATED this 29th day of June, 2006.

                                                BY THE COURT:

                                                s/Laurie Smith Camp
                                                United States District Judge
